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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                          v.                       Case No. 21-cr-85 (CRC)

 JOHN HERBERT STRAND,

                          Defendant.

                                               ORDER

       In light of the parties’ submissions, including the government’s representation that it does not

oppose Defendant’s motion for release pending appeal, and [ECF No. 150] the Court’s prior Opinion

and Order, it is hereby

       ORDERED that [ECF No. 151] Defendant’s Second Motion for Release Pending Appeal is

GRANTED. It is further

       ORDERED that Defendant be released from the custody of the Bureau of Prisons on July 24,

2024. It is further

       ORDERED that Defendant report to the U.S. Probation Office in his district of residence

within 48 hours of release. It is further

       ORDERED that Defendant’s conditions of supervised release be the same as those set forth

in the [ECF No. 140] Court’s Judgment. The Court may revisit the term of supervised release at

resentencing.

SO ORDERED.



Date: July 15, 2024
                                                            CHRISTOPHER R. COOPER
                                                            United States District Judge
